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EXHIBIT A
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In Re: §
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Texas State Vioxx Litigation §
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This Document Relates to All Cases §

ORDER ON PLAINTIFFS’ MOTION FOR PROTECTION AND ASSERTION OF
PRIVILEGE WITH REGARD TO AN INADVERTENTLY
PRODUCED DOCUMENT

ON THIS DAY came on to be heard Plaintiffs’ Motion for Protection and
Assertion of Privilege with Regarding to Inadvertently Produced Document. After
considering the motion, the response, if any, and arguments of counsel, the Court find the
motion to be of merit and orders Defendant

tircopies-of tis document: —Furthey Defendant te instractey not to use or refer to this

document in any court proceedings or depositions.

SIGNED this re Abo ny °

arch 2007.

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